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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                 __________  DistrictofofLouisiana
                                                                          __________

  IN RE: OIL SPILL BY THE OIL RIG "DEEPWATER
                                               )
 HORIZON" IN THE GULF OF MEXICO, ON APRIL 20,2010
                                                                  )
                             Plaintiff
                                                                  )
                                v.                                )       Civil Action No. 10MD2179 "J" (1)
  RELATES TO: 11-3180 (THANH HAI, INC., ET AL                     )
 V. BP AMERICA PRODUCTION COMPANY, ET AL)                         )
                            Defendant
                                                                  )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BP EXPLORATION AND PRODUCTION COMPANY
                                         c/o CT Corporation System
                                         5615 Corporate Boulevard, Suite 400B
                                         Baton Rouge, Louisiana 70808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen S. Kreller
                                         The Kreller Law Firm
                                         4224 Canal Street
                                         New Orleans, LA 70119
                                         Phone: 504-484-3488
                                         Email: ssk@krellerlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:             02/13/2012
                                                                                       Signature of Clerk or Deputy Clerk

               Feb 15 2012
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 Civil Action No. 10MD2179 "J" (1)

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    BP EXPLORATION AND PRODUCTION COMPANY
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
